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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                     EUGENE DIVISION


 ELIZABETH HUNTER, et al.,                        Civil Action No. 6:21-cv-00474-AA

         Plaintiffs,
                                                  DEFENDANTS’ MOTION TO DISMISS;
 v.                                               MEMORANDUM OF LAW IN SUPPORT
                                                  THEREOF
 U.S. DEPARTMENT OF EDUCATION; and
 SUZANNE GOLDBERG, in her official
 capacity as Acting Assistant Secretary for the
 Office for Civil Rights, U.S. Department of
 Education,

         Defendants.




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                                        LR 7-1 CONFERRAL

        In compliance with Civil Local Rule 7-1(a), counsel for the parties discussed the present

motion via telephone conference on August 6, 2021, in a good-faith effort to resolve the issues in

dispute, but were unable to resolve those issues.

                                              MOTION

        Pursuant to Federal Rule of Civil Procedure 12(b)(3), 28 U.S.C. § 1406(a), and Civil Local Rule

3-2, Defendants move to transfer this action to the Portland Division because this Court lacks

divisional venue. In the alternative, Defendants move: (i) to dismiss this action pursuant to Rule

12(b)(3), 28 U.S.C. § 1406(a), and Civil Local Rule 3-2 for lack of divisional venue; (ii) to dismiss this

action pursuant to Rule 12(b)(1) for lack of subject-matter jurisdiction; and (iii) to dismiss Plaintiffs’

First, Second, Third, and Fifth Causes of Action pursuant to Rule 12(b)(6) for failure to state a claim.

The reasons for this motion are set forth below.

                                         INTRODUCTION

        Title IX of the Education Amendments of 1972 prohibits discrimination on the basis of sex

in education programs and activities receiving federal financial assistance, subject to certain

exceptions. 20 U.S.C. § 1681(a). Through Title IX enforcement, regulation, and guidance, the U.S.

Department of Education (the “Department” or “ED”) strives to ensure that schools receiving federal

funding will not, consistent with Title IX’s statutory text, tolerate discrimination on the basis of sex—

a prohibition that encompasses sexual harassment, including sexual assault and sexual violence.

        Plaintiffs are current and former students who identify as LGBTQI+. 1 They allege that they

experienced discrimination at their educational institutions on the basis of their sexual orientation or




1
 This brief will use the acronym “LGBTQI+” to include lesbian, gay, bisexual, transgender, queer,
questioning, asexual, intersex, nonbinary, and other sexual orientation or gender identity communities,
while recognizing that other terminology may be used or preferred by certain groups or individuals.
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gender identity, but that the Department denied or would deny their Title IX complaints because

Plaintiffs’ educational institutions may be deemed exempt from Title IX pursuant to its religious

exemption, which provides that Title IX “shall not apply to an educational institution which is

controlled by a religious organization if the application of this subsection would not be consistent with

the religious tenets of such organization.” 20 U.S.C. § 1681(a)(3) (“Religious Exemption”). Plaintiffs

contend that the application of the Religious Exemption to LGBTQI+ students is unlawful.

         The Department does not condone the alleged actions that Plaintiffs attribute to their

educational institutions. Eliminating discrimination that targets LGBTQI+ students is a critical part

of the Department’s mission, and ED is committed to enforcing Title IX and other federal civil rights

laws to the fullest extent permissible under the existing laws. To the extent Plaintiffs seek to change

a statutory exemption enacted by Congress, this litigation against the Department is not the proper

vehicle for such an effort. For the reasons discussed below, the present action should be transferred

to the Portland Division or, if retained, should be dismissed for lack of venue, lack of standing, and

failure to state a claim.

         As a threshold matter, the Court should transfer this action to the Portland Division.

Divisional venue is not proper within the Eugene Division because, to the extent the events or

omissions giving rise to the claims occurred in Oregon, they occurred entirely within the Portland

Division. If the Court declines to transfer this action, it should dismiss it for lack of divisional venue.

         In the alternative, the Court should dismiss this case for lack of jurisdiction. Plaintiffs have

not alleged an injury-in-fact, fairly traceable to the challenged actions of Defendants, that is likely to

be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). First,

Plaintiffs’ claims of injury are unripe. The First Amended Complaint (“FAC,” Doc. 35) alleges that

only one plaintiff has actually filed an administrative complaint with ED and received a decision and,


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because that was likely many years ago, this plaintiff would not benefit by any relief granted by this

Court.     None of the other plaintiffs have, according to the FAC, obtained administrative

determinations from ED. Plaintiffs purport to raise as-applied challenges to the Religious Exemption.

As such, their claims require further factual development to flesh out the specific circumstances

involved in each claim and how the Religious Exemption may apply, which will crystalize the issues

for the Court. Until ED ascertains the pertinent facts and circumstances and makes a determination

about the allegations in the FAC, there is no way to know whether a real case or controversy exists.

Consideration of the issues before these events occur would therefore be premature.

         Second, Plaintiffs’ alleged injuries are traceable to the independent actions of the schools in

question—not to Defendants. And, finally, Plaintiffs have not alleged how their past injuries could be

redressed by the remedies they seek in this lawsuit: a declaration that the Religious Exemption is

unconstitutional as applied to LGBTQI+ students and an injunction against its application in that

context. Even prospectively, the educational institutions could resolve their alleged Title IX violations

by opting to forgo federal funding, an outcome that would also not remedy Plaintiffs’ alleged injuries.

         Plaintiffs have also not established causation or redressability with regard to the regulatory

changes they seek to challenge under the Administrative Procedure Act, which do not apply to them,

as students, but affect processes and standards that apply only to schools, as institutions. Moreover,

the Court also lacks jurisdiction over Plaintiffs’ APA claim under 5 U.S.C. § 704 because private suits

against the schools provide an adequate alternative remedy.

         Plaintiffs’ non-APA claims should be dismissed pursuant to Rule 12(b)(6). First, Plaintiffs’

First and Third Causes of Action, asserting First and Fifth Amendment challenges, do not state a

claim against ED because they are based on actions taken by private actors, not by the federal




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government. The government is not liable for private action just because the private actor has received

government funding.

         Second, even assuming arguendo that Plaintiffs have alleged action attributable to the government

for the purposes of their First Cause of Action, Plaintiffs have not stated an equal-protection claim.

The Religious Exemption is facially neutral and Plaintiffs do not plausibly plead that Congress enacted

it with the deliberate intent to discriminate against LGBTQI+ students. And even if the Religious

Exemption could constitute a sex-based classification, it passes intermediate scrutiny.

         Third, Plaintiffs do not challenge government action but rather statutorily mandated inaction.

See FAC ¶¶ 2, 6. As this Court has recognized, plaintiffs generally cannot level a substantive-due-

process claim based on government inaction. Juliana v. United States, 217 F. Supp. 3d 1224, 1250–51

(D. Or. 2016) (Aiken, J.), rev’d and remanded on other grounds, 947 F.3d 1159 (9th Cir. 2020).

         Fourth, Plaintiffs have not stated an Establishment Clause claim (their Second Cause of

Action). The Religious Exemption passes constitutional muster under the governing three-prong test

set forth in Lemon v. Kurtzman, 403 U.S. 602 (1971). Courts—including the Supreme Court—have

regularly rejected Establishment Clause challenges to religious exemptions, and the Religious

Exemption passes muster as well.

         Finally¸ Plaintiffs do not state a claim under the Religious Freedom Restoration Act (“RFRA”).

RFRA provides in part that “[g]ranting government funding, benefits, or exemptions, to the extent

permissible under the Establishment Clause, shall not constitute a violation of this chapter.” 42 U.S.C.

§ 2000bb–4. Since the Religious Exemption is permissible under the Establishment Clause, it cannot

be challenged under RFRA.

         For these reasons, this action should be transferred to the Portland Division, or dismissed.




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                                           BACKGROUND

    I.       LEGAL BACKGROUND

         Title IX provides that “[n]o person in the United States shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination under any education

program or activity receiving Federal financial assistance ….” 20 U.S.C. § 1681(a). The statute further

provides that it “shall not apply to an educational institution which is controlled by a religious

organization if the application of this subsection would not be consistent with the religious tenets of

such organization.” Id. § 1681(a)(3).

         ED is the federal agency primarily responsible for providing Federal financial assistance to

States, local educational agencies, public and private postsecondary institutions, and other educational

entities, and, as such, has primary responsibility for administrative enforcement of Title IX. 2 ED’s

Office for Civil Rights (“OCR”) enforces Title IX against recipients of ED funding. ED’s regulations

implementing Title IX are set forth at 34 C.F.R. Part 106. Those regulations contain a provision

implementing the Religious Exemption. See 34 C.F.R. § 106.12. That provision sets forth the

procedures for an institution wishing to assert such an exemption. Id.

         In 2020, ED made two sets of changes to the regulation at 34 C.F.R. § 106.12. First, it clarified

that institutions are not required to submit a written statement to the Assistant Secretary for Civil

Rights prior to invoking the Religious Exemption. See Nondiscrimination on the Basis of Sex in

Education Programs or Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30,026, 30,031,

30,475-82 (May 19, 2020). The revised regulation now clarifies that “[a]n educational institution that

seeks assurance of the exemption set forth in paragraph (a) of this section may do so” by submitting a


2
 The Department of Justice is additionally charged with coordinating federal agencies’ implementation
and enforcement of Title IX. 28 C.F.R. pt. 54; Exec. Order No. 12,250, 45 Fed. Reg. 72,995 (Nov. 2,
1980); 28 C.F.R. § 0.51.

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written request to the Assistant Secretary. 34 C.F.R. § 106.12(b) (emphasis added). But the regulation

further specifies that “[a]n institution is not required to seek assurance from the Assistant Secretary in

order to assert such an exemption.” Id. ED explained that the changes codified “longstanding OCR

practice,” which was aligned with the statute. 85 Fed. Reg. at 30,475; see www.ed.gov/ocr/docs/

smith-memo-19891011.pdf.

         Second, later that year, the Department again revised the regulation, this time to add a new

subsection addressing how educational institutions may demonstrate that they are controlled by a

religious organization to qualify for the Religious Exemption. See Direct Grant Programs, State-

Administered Formula Grant Programs, Non Discrimination on the Basis of Sex in Education

Programs or Activities Receiving Federal Financial Assistance, Developing Hispanic-Serving

Institutions Program, Strengthening Institutions Program, Strengthening Historically Black Colleges

and Universities Program, and Strengthening Historically Black Graduate Institutions Program, 85

Fed. Reg. 59,916, 59,918 (Sept. 23, 2020). The new provision sets forth a list of six criteria, any one

of which “shall be sufficient to establish that an educational institution is controlled by a religious

organization.” 34 C.F.R. § 106.12(c). ED explained that these criteria “codify existing factors that

the Assistant Secretary for Civil Rights uses when evaluating a request for a religious exemption

assurance” and which had been included “in non-binding guidance dating back more than 30 years,”

in addition to “addressing concerns that there may be other means of establishing the requisite

control.” 85 Fed. Reg. at 59,918. ED stated that the criteria were being formally promulgated now

“to provide recipients and other stakeholders with clarity regarding what it means to be ‘controlled by

a religious organization.’” Id.

         On June 22, 2021, following the Supreme Court’s decision in Bostock v. Clayton County, 140 S.

Ct. 1731 (2020), ED issued a clarification of “the Department’s enforcement authority over


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discrimination based on sexual orientation and discrimination based on gender identity under Title

IX.” Enforcement of Title IX of the Education Amendments of 1972 with Respect to Discrimination

Based on Sexual Orientation and Gender Identity in Light of Bostock v. Clayton County, 86 Fed. Reg.

32,637 (June 22, 2021). After analyzing the similarities between Title VII, the law at issue in Bostock,

and Title IX and considering additional case law, ED found “no persuasive or well-founded basis for

declining to apply Bostock’s reasoning—discrimination ‘because of … sex’ under Title VII

encompasses discrimination based on sexual orientation and gender identity—to Title IX’s parallel

prohibition on sex discrimination in federally funded education programs and activities.” Id. at 32,638-

39 (alteration in original). Accordingly, ED confirmed that “Title IX prohibits discrimination based

on sexual orientation and gender identity.” Id. at 32,638. It further stated that “OCR will fully enforce

Title IX to prohibit discrimination based on sexual orientation and gender identity in education

programs and activities that receive Federal financial assistance from the Department.” Id. at 32,629.

ED added in a footnote that “[e]ducational institutions that are controlled by a religious organization

are exempt from Title IX to the extent that compliance would not be consistent with the organization’s

religious tenets.” Id. & n.2 (citing 20 U.S.C. § 1681(a)(3)).

         Individuals believing themselves to have been injured by discriminatory practices at an

educational institution receiving federal funds from ED may proceed via two routes to obtain judicial

or administrative relief. First, they can sue the educational institution directly in court. See Cannon v.

Univ. of Chicago, 441 U.S. 677, 717 (1979). Second, they can file an administrative complaint against

the school with OCR within 180 days of the alleged discrimination.              See 34 C.F.R. § 106.81

(incorporating the procedures applicable to Title VI of the Civil Rights Act of 1964, 34 C.F.R.

§§ 100.6-100.11); id. § 100.7(b).




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          Upon receiving a complaint, OCR evaluates it to determine whether the information provided

is subject to further processing pursuant to the applicable statutes and regulations and OCR’s Case

Processing Manual (“CPM”; see Doc. 50-23), including but not limited to an assessment of the

timeliness of the complaint and subject matter jurisdiction over the allegations in the complaint. See

CPM Article I. If OCR determines that the complaint does not meet these initial considerations, OCR

will dismiss the complaint. Id. § 108. If not dismissed, the complaint is opened for investigation. Id.

§ 111. If sufficient evidence of discrimination is found, and the institution and the complainant are

not able to reach resolution, OCR will either: (1) initiate administrative proceedings to suspend,

terminate, or refuse to grant or continue financial assistance from the Department to the recipient; or

(2) refer the case to the United States Department of Justice for judicial proceedings to enforce any

rights of the United States under any law of the United States. See 20 U.S.C. § 1682; 34 C.F.R.

§ 100.8(a); CPM §§ 601-602. Complainants may at any point in this process bring suit in federal court

against the institution, CPM § 111, and have administrative appeal rights in some situations, id. § 307.

    II.      THE PRESENT SUIT

          Plaintiffs are current and former students who identify as LGBTQI+ and who attend,

attended, or sought to attend certain allegedly “religious” educational institutions. FAC ¶¶ 1, 13-51.

As alleged in the both the original complaint and the FAC, at the time both complaints were filed,

only one plaintiff has actually filed an administrative complaint with ED and received a decision. Id.

¶ 407. Before the other students’ administrative complaints had been filed with OCR (which only

occurred fairly recently, see Pls.’ TRO Mot. at 10, Doc. No. 44), they filed the present suit as a putative

class action to challenge Defendants’ application of the Religious Exemption as applied to LGBTQI+

students at such schools. FAC ¶¶ 1-6. They assert that ED has a “policy and practice” of denying

claims of discrimination under Title IX brought by LGBTQI+ students based on the Religious


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Exemption, in violation of their substantive-due-process and equal-protection rights (id. ¶¶ 621-645).

They also assert that the Religious Exemption and the Department’s implementation of it violate the

Establishment (id. ¶¶ 646-657) and Free Exercise, Speech, Assembly, and Association Clauses of the

First Amendment (id. ¶¶ 658-671), and the Religious Freedom Restoration Act (id. ¶¶ 698-708).

Finally, they contend that the two 2020 regulatory changes violate the Administrative Procedure Act

(“APA”). Id. ¶¶ 672-697. They seek certification of a class, declaratory and injunctive relief, creation

of a Task Force to determine appropriate compensation, and appointment of a neutral monitor to

oversee compliance. Id. at 87-88.

                                               ARGUMENT

    I.       THIS CASE SHOULD BE TRANSFERRED TO THE PORTLAND DIVISION

         As a threshold matter, the Court should transfer this action to the Portland Division pursuant

to Federal Rule of Civil Procedure 12(b)(3), 28 U.S.C. § 1406(a), and Civil Local Rule 3–2 as divisional

venue is not proper within the Eugene Division. In the alternative, if the Court declines to transfer

this action, it should dismiss this case for improper venue. See Fed. R. Civ. P. 12(b)(3); 28 U.S.C.

§ 1406(a); Civ. L.R. 3–2. Plaintiffs “ha[ve] the burden of showing that venue was properly laid.”

Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d 491, 496 (9th Cir. 1979). And because “venue is

a threshold non-merits issue,” “[t]he Court may … bypass the question of subject matter jurisdiction

and dispose of the action by a dismissal for lack of venue or by transfer.” WildEarth v. U.S. Dep’t of

Justice, No. CV–13–392, 2014 WL 12539913, at *1 (D. Ariz. Aug. 12, 2014) (citing Sinochem v. Malaysia,

549 U.S. 422, 432 (2007)).

         The Civil Local Rules establish within this District four divisions to, among other things,

“identify divisional venue” and “distribute the judicial work.” Civ. LR 3–2(a). And just like in a case

where a plaintiff filed suit in the wrong district, “[t]he district court of a district in which is filed a case


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laying venue in the wrong division … shall dismiss, or if it be in the interest of justice, transfer such

case to any … division in which it could have been brought.” 28 U.S.C. § 1406(a) (emphasis added).

Indeed, “courts in this District have held that LR 3–2 is a mandatory requirement under which a case

must be transferred if it was brought in the wrong division.” Gross v. Progressive Cas. Ins. Co., No. 1:17–

cv–00828, 2017 WL 6945173, at *7 (D. Or. Dec. 5, 2017) (emphases added, internal quotation marks

omitted), report and recommendation adopted by 2018 WL 401532 (D. Or. Jan. 12, 2018) (Aiken, J.); see also

Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834, 841 (9th Cir. 1986) (“We review venue

determinations de novo as a question of law.”).

         As relevant here, “‘divisional venue’ means the division of the Court in which a substantial

part of the events or omissions giving rise to the claim occurred.” Civ. LR 3–2(b). “[I]n a class

action,” “[t]he analysis of where a substantial part of the events took place … looks to the events

concerning the named plaintiffs’ claims, not all of the class members’ claims.”             2 William B.

Rubenstein, Newberg on Class Actions § 6:36 (5th ed.) (quoted approvingly in In re Bozic, 888 F.3d 1048,

1053 (9th Cir. 2018)). “Whether before or after class certification,” the Ninth Circuit explains, “the

claims of unnamed class members can never make permissible an otherwise impermissible venue.” In

re Bozic, 888 F.3d at 1053.

         Plaintiffs assert that “[d]ivisional venue is appropriate” in the Eugene Division because, they

allege, “two universities in this division … openly discriminate against sexual and gender minority

students.” FAC ¶ 12. But none of the named Plaintiffs purport to live in, or to attend or to have

formerly attended a college or university within, the counties comprising the Eugene Division. To

the contrary, the only Oregon connections alleged among the named Plaintiffs are to the cities of

Portland (in Multnomah County) and Newberg (in Yamhill County). See FAC ¶¶ 34, 37, 44, 46. Both

Multnomah and Yamhill Counties fall within the Portland Division. See Civ. LR 3–2(1). Because


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(i) “in a class action, the ‘events’ in question are only those involving the named plaintiffs,” In re Bozic,

888 F.3d at 1053, and (ii) the only Oregon connections among the named Plaintiffs here are within

the Portland Division, 28 U.S.C. § 1406(a) provides that the Court “shall …transfer such case to any

… division in which it could have been brought”—here, the Portland Division.

    II.       PLAINTIFFS LACK CONSTITUTIONAL STANDING

          Plaintiffs bear the burden of establishing subject-matter jurisdiction, see Defs. of Wildlife, 504

U.S. at 561, and courts “presume that [they] lack jurisdiction unless the contrary appears affirmatively

from the record,” Renne v. Geary, 501 U.S. 312, 316 (1991) (internal quotation marks and citations

omitted). Because the allegations in the FAC “are insufficient on their face” to establish that Plaintiffs

have constitutional standing, this action should be dismissed for lack of subject-matter jurisdiction

pursuant to Federal Rule of Civil Procedure 12(b)(1). Safe Air for Everyone v. Meyer, 373 F.3d 1035,

1039 (9th Cir. 2004).

          Specifically, the FAC does not allege that plaintiffs have suffered (1) a concrete and

particularized injury-in-fact, either actual or imminent, that is (2) “fairly traceable to the challenged

action of the defendant,” and (3) likely to be redressed by a favorable decision. Defs. of Wildlife, 504

U.S. at 560-61. As an initial matter, the FAC does not allege an injury that is sufficiently ripe. See

Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138-39 (9th Cir. 2000) (en banc) (“The

constitutional component of the ripeness inquiry is often treated under the rubric of standing and, in

many cases, ripeness coincides squarely with standing’s injury in fact prong.”). The FAC alleges that

only one plaintiff has actually filed a complaint with ED and received a decision. None of the other

plaintiffs allege that they have obtained determinations with regard to any of their allegations of

discrimination. In the absence of such agency determinations, adjudication by this Court is premature.




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         Plaintiffs’ allegations fail the second two prongs of the standing inquiry as well. The FAC

highlights that Plaintiffs’ alleged injuries are traceable to the independent actions of the schools in

question—not to Defendants’ actions.             And the FAC alleges mostly past injuries without an

explanation of how those injuries could be remedied by the relief Plaintiffs seek, a declaration that the

Religious Exemption is unconstitutional as applied to LGBTQI+ students and an injunction against

its application in that context. Even prospectively, if the Court enjoined application of the Religious

Exemption in these contexts, educational institutions would remain free to decline federal funding,

which would mean that Title IX would not apply to them and Plaintiffs would face much the same

situation at their schools as they do now. Accordingly, that a favorable court decision would redress

Plaintiffs’ injuries is purely speculative.

         A.       Plaintiffs’ Injuries Are Not Ripe

         The ripeness inquiry contains both a constitutional and a prudential component. Nat’l Park

Hospitality Ass’n v. Dep’t of the Interior, 538 U.S. 803, 808 (2003). “The constitutional component focuses

on whether there is sufficient injury, and thus is closely tied to the standing requirement.” Portman v.

Cty. of Santa Clara, 995 F.2d 898, 902-03 (9th Cir. 1993). “[T]he prudential component, on the other

hand, focuses on whether there is an adequate record upon which to base effective review.” Id. at

903. In the administrative context, the “ripeness requirement is designed to prevent the courts,

through avoidance of premature adjudication, from entangling themselves in abstract disagreements

over administrative policies, and also to protect the agencies from judicial interference until an

administrative decision has been formalized and its effects felt in a concrete way by the challenging

parties.” Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 732-33 (1998) (quoting Abbott Labs. v.

Gardner, 387 U.S. 136, 148-49 (1967)).




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         The lack of formalized agency decisions here precludes review at this time. As alleged in the

FAC, only one plaintiff has obtained a determination from OCR on an administrative complaint, and,

because that student left the university in question in March 2016, any relief granted by this Court

would have no effect on that student. See FAC ¶¶ 395, 405-407 (stating ED closed a complaint filed

by Jaycen Montgomery); The FAC does not allege that there have been any other determinations by

ED as to any of the other conduct Plaintiffs allege, or even any indication as to what ED’s current

position might be with respect to each instance discussed in the FAC. To be sure, within the last few

weeks, Plaintiffs filed numerous administrative complaints with ED. See Pls.’ TRO Mot. at 21. But,

until ED makes a determination with regard to these complaints, there is no basis for the Court to

evaluate whether a real case or controversy exists between Plaintiffs and ED. ED may or may not

conclude that the Religious Exemption applies to any of the allegations presented in Plaintiffs’

complaints. For example, ED has explained that OCR may investigate complaints against religious

schools and nothing prevents it from making a finding against such a school “if its religious tenets do

not address the conduct at issue.” 85 Fed. Reg. at 30,477; see also https://www2.ed.gov/about/

offices/list/ocr/docs/202107-qa-titleix.pdf, at 32 (“A religious exemption is not a blanket exemption

from Title IX, and a school’s religious exemption extends only as far as the conflict between the Title

IX regulations and the religious tenets of the controlling religious organization.”). A claim is not ripe

for judicial resolution “if it rests upon contingent future events that may not occur as anticipated, or

indeed may not occur at all.” Texas v. United States, 523 U.S. 296, 300 (1998) (citation and quotation

marks omitted). That is precisely the situation here. See Mt. Adams Veneer Co. v. United States, 896 F.2d

339, 343-44 (9th Cir. 1989) (finding “challenge to the agency’s possible decision to prohibit




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amendments to previously approved buy-out applications” was not ripe where the agency had not yet

addressed the question). 3

         Plaintiffs’ claims also do not satisfy the prudential aspect of ripeness. The prudential aspect

of ripeness is considered in a two-prong test that weighs the “fitness of the issues for judicial decision,”

including “whether the courts would benefit from further factual development,” and the “hardship to

the parties of withholding court consideration.” Ohio Forestry Ass’n, Inc, 523 U.S. at 733. Plaintiffs

purport to raise as-applied challenges to the Religious Exemption. As such, their claims require

“further factual development” at the administrative level to flesh out the specific circumstances

involved in each claim and how the Religious Exemption may apply. Judicial consideration of

Plaintiffs’ challenge before the administrative process has run its course could “interfere with the

system that Congress specified for the agency to reach” Title IX decisions. Id. at 736. And, there

does not appear to be “hardship” in the legal context to Plaintiffs from withholding court

consideration while the administrative process runs its course. In fact, some of the plaintiffs may

obtain relief through the administrative process they just recently initiated. Plaintiffs’ claims are thus

not ripe for adjudication for prudential reasons as well. See Duke Power Co. v. Carolina Envtl. Study Grp.,

Inc., 438 U.S. 59, 82 (1978) (noting that further factual development would “significantly advance our

ability to deal with the legal issues presented”); see also Trump v. New York, 141 S. Ct. 530, 536 (2020)

(“Letting the Executive Branch’s decisionmaking process run its course not only brings ‘more


3
  Indeed, it may be that a majority, if not all, of Plaintiffs’ complaints are dismissed on timeliness
grounds or because the individual in question has left the school in question. See CPM § 108 (listing
grounds for dismissal); 34 C.F.R. § 100.7(b) (requiring complaints be filed within 180 days of the
discrimination); https://www2.ed.gov/about/offices/list/ocr/docs/202107-qa-titleix.pdf, at 15
(discussing when a complaint filed by an individual not currently attending the school must be
accepted by the school). But, if that is the result of the administrative process, Plaintiffs will not have
been injured by ED’s application of the Religious Exemption, and they would lack standing for this
reason as well. Requiring ripeness therefore serves the purpose of ensuring that ED has actually
applied the Religious Exemption to the claims before this Court.

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manageable proportions’ to the scope of the parties’ dispute, … but also ‘ensures that we act as judges,

and do not engage in policymaking properly left to elected representatives’ …”).

         B.       Plaintiffs Have Not Alleged that Their Injuries Suffered at Their Schools Are
                  Caused by Defendants’ Actions

         The “fairly traceable” and “redressability” components for standing overlap and are “two

facets of a single causation requirement.” Allen v. Wright, 468 U.S. 737, 753 n.19 (1984). However,

“[t]he two are distinct insofar as causality examines the connection between the alleged misconduct

and injury, whereas redressability analyzes the connection between the alleged injury and requested

judicial relief.” Wash. Envtl. Council v. Bellon, 732 F.3d 1131, 1146 (9th Cir. 2013) (citing id.). Where,

as here, “causation and redressability … hinge on the response of the regulated (or regulable) third

party to the government action or inaction—and perhaps on the response of others as well,” “it

becomes the burden of the plaintiff to [allege] facts showing that those choices have been or will be

made in such manner as to produce causation and permit redressability of injury.” Defs. of Wildlife, 504

U.S. at 562. Plaintiffs have not made this showing here.

         First, Plaintiffs have not sufficiently alleged that their claimed injuries are “fairly trace[able] to

the challenged action of” Defendants. Defs. of Wildlife, 504 U.S. at 560 (alteration in original). Plaintiffs’

complaint is not that ED directly discriminated against them through its own actions. Instead, they

allege that their educational institutions—who are not parties to this case—caused their injuries and

that ED then refused (or would refuse, if presented with a complaint) to redress those injuries because

of its interpretation of the Religious Exemption. But the FAC does not plausibly allege any causal

connection between the actions of religiously controlled institutions and ED’s interpretation and

application of Title IX. Rather, the FAC implies that the decisions made by these institutions were

the result of independent decision making without regard to whether they had been granted (or would

be granted) a religious exemption. The FAC contains numerous allegations regarding the policies and

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actions of the schools at issue, which were the direct and indirect causes of Plaintiffs’ injuries, certainly

not ED’s application of a statutory exemption.

         Causation is also lacking with regard to Plaintiffs’ APA challenges to the 2020 regulatory

changes. Plaintiffs have not specifically alleged that the regulatory changes have led or contributed to

the alleged discriminatory harm they have experienced. The regulatory changes merely clarified the

manner in which institutions can claim a religious exemption and the eligibility requirements for the

exemption. See supra pp. 5-6. The changes do not directly or indirectly apply to Plaintiffs, and Plaintiffs

do not explain how any of the institutions they attend are more likely to qualify for a religious

exemption under the revised regulations than they would have been previously. Indeed, Plaintiffs

even allege that, under that status quo, ED has “never rejected an educational institution’s assertion

that it is controlled by a religious organization,” FAC ¶ 584, undermining any argument that the

amended regulation has made it easier to qualify or changed the institutions eligible for an exemption.

Plaintiffs have therefore have not met their burden to allege causation with regard to these claims.

         C.       The Relief Sought Would Not Be Likely to Redress Plaintiffs’ Injuries

         To establish redressability, Plaintiffs must allege (and ultimately prove) that it is “likely,” as

opposed to merely “speculative,” Defs. of Wildlife, 504 U.S. at 561, that a judgment invalidating the

Religious Exemption as applied would redress their injuries. In other words, they have to show that

the relief they seek would be substantially likely to redress their claimed injuries and within the district

court’s remedial power to issue. M.S. v. Brown, 902 F.3d 1076, 1083 (9th Cir. 2018). However, based

on the FAC, Plaintiffs cannot meet this standard. The majority of the Plaintiffs have either left the

educational institutions at issue—through graduation or otherwise—or are no longer seeking




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attendance there. 4 Even if this Court were to grant Plaintiffs the relief they seek and declare ED’s

current application of the Religious Exemption to be invalid and unenforceable, that relief would not

remedy Plaintiffs’ past injuries. 5

         In any event, the institutions would remain free to decline federal funding, which would mean

that Title IX would not apply to them. Plaintiffs can only speculate that the institutions would alter

their policies if the Religious Exemption is enjoined in certain circumstances, but such speculation is

insufficient to establish a “likelihood” of redressability. Where the court cannot predict, nor have

plaintiffs established, how third parties would respond to a favorable decision for the plaintiffs,

plaintiffs have not sufficiently demonstrated that the requested relief would redress their injuries. See

Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 43, 45-46 (1976) (the complaint “suggests no substantial

likelihood that victory in this suit would result in respondents’ receiving the hospital treatment they

desire” because “it is just as plausible that the hospitals to which respondents may apply for service

would elect to forgo favorable tax treatment to avoid the undetermined financial drain of an increase

in the level of uncompensated services”); Fernandez v. Brock, 840 F.2d 622, 627 (9th Cir. 1988) (finding

no redressability where it was “speculative at best whether a court order compelling the Secretary [of

Treasury and other federal officials and agencies] to promulgate regulations” under ERISA would

enlarge farmworkers’ pension benefits); see also Freedom Republicans, Inc. v. Fed. Election Comm’n, 13 F.3d


4
 For example, Darren McDonald graduated from Westmont College in 2002, and from Fuller
Theological Seminary in December 2006, ECF No. 35-22, ¶¶ 9, 10, Scott McSwain graduated in 2010,
ECF No. 35-23, ¶ 3, and Lucas Wilson graduated May 2012, ECF No. 35-31, ¶ 3.
5
  To be sure, the majority of the Plaintiffs have recently, and belatedly, filed administrative complaints
with OCR. See Pls.’ TRO Mot. at 21. However, standing is judged as of the time the complaint is
filed. D’Lil v. Best Western Encina Lodge & Suites, 538 F.3d 1031, 1036 (9th Cir. 2008). Even if the
operative complaint for these purposes is the FAC, see In re Zappos.com, Inc., 888 F.3d 1020, 1028 n.10
(9th Cir. 2018), as of the time the FAC was filed, no such administrative complaints had yet been filed.
See Pls.’ TRO Mot. at 11.


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412, 419 (D.C. Cir. 1994) (finding “inadequate likelihood, as opposed to speculation, that the Party

would choose to change its time-tested delegate-selection mechanism rather than forego the

convention funding”). This fatal flaw is present here because neither Plaintiffs nor the Court can

predict what effect, if any, a judgment for Plaintiffs in this case would have on prospective decisions

by educational institutions regarding LGBTQI+ students.

         Plaintiffs also seek monetary damages (through appointment of a “Task Force to determine

appropriate compensation, FAC at 87 (¶ D)). However, the Department cannot be liable for damages

caused by the allegedly discriminatory conduct of schools in this case. Plaintiffs identify no applicable

waiver of sovereign immunity that would afford them damages from the federal government. See

Ordonez v. United States, 680 F.3d 1135, 1138 (9th Cir. 2012) (“[T]o hold the government liable for

money damages, ‘[a] waiver of sovereign immunity must extend unambiguously to such monetary

claims.’”). A request for unavailable relief does not give standing to plaintiffs who otherwise do not

have standing.

         Finally, with regard to their APA claim, Plaintiffs have not set forth allegations sufficient to

show how a decision invalidating the regulatory changes would alter either the behavior of the

educational institutions or the outcomes of discrimination complaints or Religious Exemption

requests filed with ED under Title IX. Indeed, any injuries that Plaintiffs allege as a result of the

regulatory changes, based on conduct by their schools, are more appropriately remedied through a

suit by Plaintiffs against their institutions, not the Department. The APA provides for judicial review

only of “[a]gency action made reviewable by statute and final agency action for which there is no other

adequate remedy in a court.” 5 U.S.C. § 704 (emphasis added). Accordingly, Plaintiffs’ APA claim should

be dismissed for this reason as well. See Nat’l Wrestling Coaches Ass’n v. Dep’t of Educ., 366 F.3d 930,

945-48 (D.C. Cir. 2004) (“[T]he availability of a private cause of action directly against universities that


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discriminate in violation of Title IX” constituted an adequate remedy that barred the plaintiffs’ APA

claim against the Department.). In sum, Plaintiffs have not alleged sufficient facts establishing that a

favorable court decision against Defendants would redress their injuries, and, for this reason as well

as for the reasons stated above, Plaintiffs lack constitutional standing to pursue their claims.

    III.       PLAINTIFFS’ FIRST, SECOND, THIRD, AND FIFTH CAUSES OF ACTION
               DO NOT STATE A CLAIM

           Plaintiffs’ First, Second, Third, and Fifth Causes of Action all fail to state a claim. “To survive

a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. “The plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has

acted unlawfully.” Id. “A pleading that offers labels and conclusions or a formulaic recitation of the

elements of a cause of action will not do.” Id. Likewise, “[t]hreadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.” Id. “Where a complaint

pleads facts that are merely consistent with a defendant’s liability, it stops short of the line between

possibility and plausibility of entitlement to relief.” Id.

                   Plaintiffs’ First and Third Causes of Action Do Not State a Claim

                   1. Plaintiffs’ Alleged Injuries Result from Private Action

           Plaintiffs’ First and Third Causes of Action assert First and Fifth Amendment challenges based

on actions taken, not by the federal government, but by private religious colleges and universities. For

example, Plaintiffs assert a First Amendment challenge in part on the grounds that some “taxpayer

funded educational institutions” prohibit them from “form[ing] LGBTQ+ support or advocacy

groups,” FAC ¶ 663, and assert a Fifth Amendment challenge in part on the grounds that “[m]any

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LGBTQ+ students delay their engagements and/or marriages out of fear of retaliation from their

colleges and universities,” id. ¶ 637. Plaintiffs’ legal theory is that “when the government provides

public funds to private actors … the Constitution restrains the government from allowing such private

actors to use those funds to harm disadvantaged people.” Id. ¶ 5. In other words, Plaintiffs contend

that because certain religious colleges and universities receive federal funding, their private actions can

be attributable to the government and subject to constitutional scrutiny.

         Though private actors asserting a religious exemption from Title IX may behave in certain

ways, the federal government is not responsible for such conduct. The Constitution “protects

individual rights only from government action, not from private action.” Single Moms, Inc. v. Montana Power

Co., 331 F.3d 743, 746 (9th Cir. 2003). This government-action “requirement ‘preserves an area of

individual freedom by limiting the reach of federal law and federal judicial power,’ and ‘avoids

imposing on the State, its agencies or officials, responsibility for conduct for which they cannot fairly

be blamed.’” Roberts v. AT&T Mobility LLC, 877 F.3d 833, 837 (9th Cir. 2017) (quoting Lugar v.

Edmondson Oil Co., 457 U.S. 922, 936 (1982)). 6 “By requiring courts to respect the limits of their own

power as directed against private interests, the state action doctrine ensures that the prerogative of

regulating private business remains with the States and the representative branches, not the courts.”

Id. at 837–38 (internal citations, alterations, and quotation marks omitted). And the government-

action requirement “excludes from its reach merely private conduct, no matter how discriminatory or

wrongful.” Am. Mfgs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 50 (1999) (internal quotation marks omitted).



6
  The government-action test may arise in multiple contexts, but the legal analysis—whether in the
federal-action context, the state-action context, or the 42 U.S.C. § 1983 color-of-law context—is the
same. See Kitchens v. Bowen, 825 F.2d 1337, 1340 (9th Cir. 1987) (“‘[T]he standards utilized to find
federal action for purposes of the Fifth Amendment are identical to those employed to detect state
action subject to the strictures of the Fourteenth Amendment.’”); Rawson v. Recovery Innovations, Inc.,
975 F.3d 742, 747 (9th Cir. 2020) (“[T]he color of law and state action inquiries are the same.”).

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“‘Whether this is good or bad policy, it is a fundamental fact of our political order.’” Roberts, 877 F.3d

at 838 (quoting Lugar, 457 U.S. at 937).

         To be sure, private action may be attributable to the government under very limited

circumstances—but those limited circumstances do not apply here. In Blum v. Yaretsky, 457 U.S. 991

(1982), the Supreme Court explained that “constitutional standards” may be “invoked only when it

can be said that the State is responsible for the specific conduct of which the plaintiff complains.” Id. at

1004 (second emphasis added).         Even in situations where the government “approv[es] of or

acquiesce[s] in the initiatives of a private party,” such approval or acquiescence “is not sufficient to

justify holding the State responsible for those initiatives under the terms of the Fourteenth

Amendment.” Id. at 1004–05. Rather, a government “normally can be held responsible for a private

decision only when it has exercised coercive power or has provided such significant encouragement …

that the choice must in law be deemed to be that of the State.” Id. at 1004 (emphasis added). Applying

those standards, the Blum court rejected Medicaid patients’ due process claims against New York State

officials that were premised on decisions made by private nursing homes. See id. at 993, 995–96, 1003.

         Plaintiffs here do not allege that the federal government itself is harming them with

“conversion therapy, expulsion, denial of housing and healthcare,” and the like. See FAC ¶ 2. Instead,

they allege that certain “religious institutions require sexual and gender minority students to hide their

identity out of fear, or to behave contrary to their fundamental sexual or gender identity.” Id. ¶ 4

(emphasis added). Though Plaintiffs assert that the federal government is “complicit[] in the abuses

and unsafe conditions thousands of LGBTQ+ students endure at hundreds of taxpayer-funded[]

religious colleges and universities,” id. ¶ 1, the government conduct alleged is limited to: (i) the fact

that “the government provides public funds” to religious colleges and universities, id. ¶ 5; and (ii)

“[t]he Department’s [supposed] inaction” in the face of the complained-of private conduct at issue,


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id. ¶ 2. But the Ninth Circuit “start[s] with the presumption that private conduct does not constitute

governmental action,” Sutton v. Providence St. Joseph Med. Ctr., 192 F.3d 826, 835 (9th Cir. 1999), and

that presumption “may be overcome” only “in limited circumstances,” Heineke v. Santa Clara Univ.,

965 F.3d 1009, 1012 (9th Cir. 2020). Defendants do not condone the conduct alleged by Plaintiffs,

but neither allegations of federal funding nor statutorily mandated “inaction,” without more, suffices

to transform private conduct into governmental conduct. See Blum, 457 U.S. at 1004.

         In Rendell-Baker v. Kohn, 457 U.S. 830 (1982), the Supreme Court posed and answered the

question whether the mere receipt of federal funds by a private actor renders its actions susceptible to

constitutional review. Rendell-Baker concerned a private school that derived “virtually all of [its] income

… from government funding.” Id. at 840; see id. at 832 (“In recent years, public funds have accounted

for at least 90%, and in one year 99%, of respondent school’s operating budget.”). But despite that

significant infusion of government funds, the Supreme Court nevertheless “conclude[d] that the

school’s receipt of public funds does not make the [school’s] discharge decisions acts of the State.”

Id. at 840. And based on this holding, the Ninth Circuit held that “[r]eceipt of government funds is

insufficient to convert a private university into a state actor, even where ‘virtually all of the school’s

income is derived from government funding.’” Heineke, 965 F.3d at 1013 (quoting Rendell-Baker, 457

U.S. at 840). As the Supreme Court held in Blum, the fact “[t]hat programs undertaken by the

[government] result in substantial funding of the activities of a private entity” does not “demonstrat[e]

that the [government] is responsible for decisions made by the entity.” 457 U.S. at 1011. So, too,

here. See also Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1931–32 (2019) (mere fact that

“the government funds or subsidizes a private entity” “does not convert the private entity into a state

actor”); accord, e.g., Sever v. Alaska Pulp Corp., 978 F.2d 1529, 1538 (9th Cir. 1992); Ascherman v.

Presbyterian Hosp. of Pac. Med. Ctr., Inc., 507 F.2d 1103, 1105 (9th Cir. 1974).


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         Nor does the federal government’s alleged “inaction,” e.g., FAC ¶¶ 2 & 6, suffice to transform

the consequent private actions of religious colleges and universities into federal actions subject to

constitutional scrutiny. The Supreme Court has explained that “legislative decision[s] not to intervene

in” certain “dispute[s]”—like the Religious Exemption here—do not transform private action into

government action. Am. Mfgs. Mut. Ins. Co., 526 U.S. at 53–54; accord Blum, 457 U.S. at 1004–05.

American Manufacturers concerned a Pennsylvania workers’ compensation law that allowed employers

or insurers to withhold payment for a disputed medical treatment pending an independent review of

the reasonableness and necessity of the treatment. See 526 U.S. at 43. The respondents argued that

the decisions of private insurers to withhold payment pursuant to the law “may be fairly attributable

to the State because the State has ‘authorized’ and ‘encouraged’ it.” Id. at 53. Though the Supreme

Court acknowledged that “the State’s decision to provide insurers the option of deferring payment …

can in some sense be seen as encouraging them to do just that,” the Court concluded that “this kind

of subtle encouragement” does not “so significantly encourage[] the private activity as to make the

State responsible for it.” Id. “Such permission of a private choice cannot support a finding of state

action.” Id. at 54 (emphasis added). “[O]ur cases will not tolerate the imposition of [constitutional]

restraints on private action by the simple device of characterizing the State’s inaction as ‘authorization’

or ‘encouragement.’” Id. (internal quotation marks omitted). Here, too, Defendants’ statutorily

mandated “inaction”—by virtue of the Religious Exemption—does not “so significantly encourage[]

the private activity as to make the [government] responsible for it.” Id. at 53.

         Plaintiffs suggest that Norwood v. Harrison, 413 U.S. 455 (1973), and Bob Jones University v. United

States, 461 U.S. 574 (1983), compel a different result. See FAC ¶¶ 639–40. Any such suggestion is

incorrect. Norwood held that a State that was under a federal desegregation order, and that therefore

had an affirmative constitutional duty to dismantle its segregated system of education, could not


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provide aid to all-white private schools founded in order to avoid public-school desegregation. 413

U.S. at 457–60, 467–68. “[T]he constitutional infirmity of the Mississippi textbook program,” the

Court explained, “is that it significantly aids the organization and continuation of a separate system of

private schools which … may discriminate if they so desire.” Id. at 467. Mississippi’s “constitutional

obligation require[d] it to steer clear, not only of operating the old dual system of racially segregated

schools, but also of giving significant aid to institutions that” further such segregation. Id.

         Bob Jones University, in which the Supreme Court held that the government properly denied tax

benefits to religious schools with racially discriminatory policies, is even further afield. Bob Jones

University did not involve the attribution of private action to the government. Instead, the Court simply

held that pursuant to the Internal Revenue Code, “an institution seeking tax-exempt status must serve

a public purpose and not be contrary to established public policy.” 461 U.S. at 586. And because

“racial discrimination in education is contrary to public policy,” “[r]acially discriminatory educational

institutions cannot be viewed as conferring a public benefit” under the Internal Revenue Code. Id. at

595–96. In other words, the Court simply held that the schools were not entitled to tax-exempt status

under the statutory scheme.

         To be clear, the federal government in no way condones the private conduct alleged in the

FAC. But the question Plaintiffs present here is whether that private conduct is attributable to the

federal government. The Supreme Court and the Ninth Circuit have made clear that the answer is

“no.” Again, the government-action requirement “excludes from its reach ‘merely private conduct,

no matter how discriminatory or wrongful.’” Am. Mfgs. Mut. Ins. Co., 526 U.S. at 50 (quoting Blum,

457 U.S. at 1002). If this Court were to hold otherwise, “a large swath of private entities in America

would suddenly be turned into [government] actors and be subject to a variety of constitutional

constraints on their activities.” Manhattan Cmty. Access Corp., 139 S. Ct. at 1932. Though private actors


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asserting a religious exemption from Title IX may choose to behave in certain ways, the federal

government is not responsible for such conduct. Accordingly, Plaintiffs’ First and Third Causes of

Action must be dismissed.

                  2. Plaintiffs’ Equal Protection Claim Fails for Lack of Discriminatory Intent

         Plaintiffs’ Fifth Amendment equal-protection claim should be dismissed for an additional

reason. “[P]roof of … discriminatory intent or purpose is required to show a violation of the Equal

Protection Clause.” Ramos v. Wolf, 975 F.3d 872, 896 (9th Cir. 2020) (internal quotation marks

omitted). “Statutes are presumed constitutional,” SeaRiver Maritime Fin. Holdings, Inc. v. Mineta, 309

F.3d 662, 669 (9th Cir. 2002), and “only the clearest proof could suffice to establish the

unconstitutionality of a statute” based on an alleged improper legislative motive, Flemming v. Nestor,

363 U.S. 603, 617 (1960) (Harlan, J.). 7

         “Where,” as here, “the challenged governmental policy is ‘facially neutral,’”—that is, the

Religious Exemption is silent as to LGBTQI+ students—“proof of its disproportionate impact on an

identifiable group can satisfy the intent requirement only if it tends to show that some invidious or

discriminatory purpose underlies the policy.” Lee v. City of Los Angeles, 250 F.3d 668, 686 (9th Cir.

2001). “[B]ut it is the rare case where impact alone will be sufficient to invalidate a challenged

government action.” Comm. Concerning Cmty. Improvement v. City of Modesto, 583 F.3d 690, 703 (9th Cir.

2009). Rather, to show discriminatory intent, Plaintiffs need to plausibly allege that Congress “selected

or reaffirmed a particular course of action at least in part ‘because of,’ not merely ‘in spite of,’ its

adverse effects upon an identifiable group.” Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979).


7
  “[W]hile the Fifth Amendment contains no equal protection clause, it does forbid discrimination
that is so unjustifiable as to be violative of due process. This Court’s approach to Fifth Amendment
equal protection claims has always been precisely the same as to equal protection claims under the
Fourteenth Amendment.” Weinberger v. Wiesenfeld, 420 U.S. 636, 638 n.2 (1975) (citations and internal
quotation marks omitted).

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In the context of a facially neutral policy, “[i]f there is no evidence of intentional discrimination, then

the court assumes that the challenged actions were not based on discrimination and must inquire only

whether the actions were rationally related to a legitimate governmental interest.” Comm. Concerning

Cmty. Improvement, 583 F.3d at 703.

         Plaintiffs do not plausibly plead that Congress enacted the Religious Exemption with the

deliberate intent to discriminate against LGBTQI+ students. Though Plaintiffs generically allege that

“Congress enacted the religious exemption to permit discrimination based on sex, sexual orientation

and gender identity,” FAC ¶ 601, such a “bald allegation of impermissible motive … standing alone,

is conclusory and is therefore not entitled to an assumption of truth.” Moss v. U.S. Secret Serv., 572

F.3d 962, 970 (9th Cir. 2009); see Russi v. Wissenback, No. 6:18–cv–01028–AA, 2019 WL 1965830 (D.

Or. Apr. 28, 2019) (Aiken, J.) (identifying “bare assertions that are not entitled to the assumption of

truth and are not supported by sufficient factual allegations in the Amended Complaint”); accord, e.g.,

Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014).

         Moreover, “[w]hen considering plausibility, courts must also consider an ‘obvious alternative

explanation’ for defendant’s behavior.” Eclectic Props. E., LLC, 751 F.3d at 996. Here, there are two

obvious alternative explanations. First, “free exercise of religion and conscience is undoubtedly,

fundamentally important,” California v. Azar, 911 F.3d 558, 582 (9th Cir. 2018), and the government

is permitted to “accommodate religious practices,” Hobbie v. Unemployment Appeals Comm’n of Fla., 480

U.S. 136, 144–45 (1987). Moreover, by enacting the Religious Exemption, Congress had sought to avoid

excessive entanglement with religion. Indeed, Title IX, including the Religious Exemption, was

enacted in 1972—almost immediately after the Supreme Court issued its 1971 decision in Lemon v.

Kurtzman, 403 U.S. 602 (1971), which invalidated state statutes providing direct aid to religious schools

as contrary to the Religion Clauses. See id. at 606–07. The Court in Lemon expressly cautioned against


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excessive government entanglement with religion, and held that “[t]he objective is to prevent, as far

as possible, the intrusion of” state involvement “into the precincts of” religious institutions, and vice

versa. Id. at 614–15. As Congress “legislat[es] against the backdrop of recent Supreme Court law,”

J.E.F.M. v. Lynch, 837 F.3d 1026, 1034 (9th Cir. 2016), it is unsurprising that, in the wake of Lemon,

Congress would be especially careful to ensure that the government, through Title IX, would not

unduly “intru[de] … into the precincts of” religious educational institutions. Cf. Lemon, 403 U.S. at

614.

                  3. Plaintiffs’ Equal Protection Claim Fails Because the Religious Exemption
                     Passes Intermediate Scrutiny

         Even assuming arguendo that Plaintiffs had plausibly pleaded a discriminatory intent or purpose,

their equal-protection claim should still be dismissed. Equal-protection claims based on sexual

orientation or gender identity call for the application of intermediate scrutiny. See SmithKline Beecham

Corp. v. Abbott Labs., 740 F.3d 471, 481 (9th Cir. 2014) (sexual orientation), reh’g en banc denied, 759 F.3d

990 (9th Cir. 2014); Norsworthy v. Beard, 87 F. Supp. 3d 1104, 1119 (N.D. Cal. 2015) (gender identity).

A statute passes intermediate scrutiny if it “serve[s] important government objectives” and “the

discriminatory means employed are substantially related to the achievement of those objectives.”

Harrison v. Kernan, 971 F.3d 1069, 1076 (9th Cir. 2020) (internal quotation marks omitted). 8




8
  Plaintiffs have argued that the religious exemption would be subject to strict scrutiny because it
interferes with the fundamental right to marry. See Pls. Mot., Doc. 44 at 31–32. But the Ninth Circuit
has held that strict scrutiny applies “[o]nly when a government regulation directly and substantially
interferes with the fundamental incidents of marriage.” Parsons v. Del Norte Cnty., 728 F.2d 1234, 1237
(9th Cir. 1984) (per curiam) (emphasis added). “A regulation does not become subject to strict scrutiny
as involving a suspect class merely because in some way it touches upon the incidents of marriage.”
Id.; see also P.O.P.S. v. Gardner, 998 F.2d 764, 768 (9th Cir. 1993) (declining to apply strict scrutiny to
child support schedule even though its operation may pressure individuals to divorce or deter entering
into marriage; “The Schedule does not directly and substantially interfere with marriage.”).


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         The Religious Exemption passes intermediate scrutiny. The Ninth Circuit has recognized

“that free exercise of religion and conscience is undoubtedly, fundamentally important.” California,

911 F.3d at 582. And exempting religiously controlled educational institutions from Title IX—and

only to the extent that a particular application of Title IX would not be consistent with a specific tenet

of the controlling religious organization, see 20 U.S.C. § 1681(a)(3)—is substantially related to the

government’s objective of accommodating religious exercise.

         Simply put, Plaintiffs do not plausibly allege that Congress enacted the Religious Exemption

with the deliberate intent or purpose of discriminating against students on the basis of their sexual

orientation or gender identity. And even if Plaintiffs had plausibly pleaded such discriminatory intent

or purpose, the religious exemption passes intermediate scrutiny. Accordingly, for this additional

reason, their equal-protection claim should be dismissed as a matter of law.

                  4. Plaintiffs’ Substantive Due Process Claim Should Be Dismissed Because It
                     Is Premised on Private Action and Supposed Government “Inaction”

         Plaintiffs’ substantive-due-process claim should also be dismissed for an additional reason.

“Substantive due process protects individuals from the arbitrary deprivation of their liberty by

government.” Brittain v. Hansen, 451 F.3d 982, 991 (9th Cir. 2006). 9 “[T]o establish a substantive due

process claim a plaintiff must show a government deprivation of life, liberty, or property,” coupled

with “conscience shocking behavior by the government.” Id. (internal quotation marks omitted).

         As a threshold matter, Plaintiffs do not allege a government deprivation of life, liberty, or

property. As explained above, Plaintiffs only allege harms inflicted on them by private religious

colleges and universities. E.g., FAC ¶¶ 1, 3–5. “But nothing in the language of the Due Process Clause



9
 “The same analysis that applies to a substantive due process claim under the Fourteenth Amendment
applies to a substantive due process claim under the Fifth Amendment.” Molina-Aviles v. Dist. of
Columbia, 824 F. Supp. 2d 4, 9 n.8 (D.D.C. 2011).

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itself requires the State to protect the life, liberty, and property of its citizens against invasion by private

actors.” DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 195 (1989). “Its purpose was to

protect the people from the State, not to ensure that the State protected them from each other.” Id.

at 196. Nor does it matter that these private actors may benefit from federal funds because “the due

process provision of the Fifth Amendment does not apply to the indirect adverse effects of

governmental action.” O’Bannon v. Town Court Nursing Ctr., 447 U.S. 773, 789 (1980).

         And even assuming arguendo that Plaintiffs had alleged some sort of direct government

involvement, “the Due Process Clause” generally “does not impose on the government an affirmative

obligation to act, even when ‘such aid may be necessary to secure life, liberty, or property interests of

which the government itself may not deprive the individual.’” Juliana v. United States, 217 F. Supp. 3d

1224, 1250–51 (D. Or. 2016) (Aiken, J.) (quoting DeShaney, 489 U.S. at 196), rev’d and remanded on other

grounds, 947 F.3d 1159 (9th Cir. 2020). 10 Here, Plaintiffs do not challenge any government action.

Instead, they allege that “[t]he Department’s inaction leaves students unprotected” from a number of

harms, and that “the Constitution forbids such inaction.” FAC ¶¶ 2, 6 (emphases added). As this Court

has recognized, however, one generally cannot level a substantive-due-process claim based on

government inaction.

         For these additional reasons, Plaintiffs’ substantive-due-process claim should be dismissed.

                  Plaintiffs’ Second Cause of Action Does Not State a Claim

         “[I]n commanding neutrality the Religion Clauses do not require the government to be

oblivious to impositions that legitimate exercises of state power may place on religious belief and

practice.” Bd. of Educ. of Kiryas Joel Vill. Sch. Dist. v. Grumet, 512 U.S. 687, 705 (1994). Rather, the



10
   This principle is subject to two limited exceptions, see Juliana, 217 F. Supp. 3d at 1250–51, neither
of which applies here.

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Supreme Court “has long recognized that the government may (and sometimes must) accommodate

religious practices and that it may do so without violating the Establishment Clause.” Hobbie, 480 U.S.

at 144–45. And “there is room for play in the joints between the Free Exercise and Establishment

Clauses, allowing the government to accommodate religion beyond free exercise requirements,

without offense to the Establishment Clause.” Cutter v. Wilkinson, 544 U.S. 709, 713 (2005). Courts—

including the Supreme Court—have regularly rejected Establishment Clause challenges to religious

exemptions. See, e.g., Corp. of the Presiding Bishop of the Church of Jesus Christ of Latter-Day Saints v. Amos,

483 U.S. 327 (1987) (Title VII’s religious exemption); Walz v. Tax Comm’n, 397 U.S. 664 (1970)

(religious exemption to state property taxes); Gaylor v. Mnuchin, 919 F.3d 420, 432 (7th Cir. 2019)

(federal tax exemption for church-provided parsonages); Medina v. Catholic Health Initiatives, 877 F.3d

1213, 1230–34 (10th Cir. 2017) (ERISA’s church-plan exemption); Pieszak v. Glendale Adventist Med.

Ctr., 112 F. Supp. 2d 970, 996–97 (C.D. Cal. 2000) (religious exemption to California’s Fair

Employment and Housing Act). The Religious Exemption likewise passes constitutional muster.

         “Establishment Clause violations are determined according to the three-pronged test

articulated in Lemon v. Kurtzman.” Williams v. California, 764 F.3d 1002, 1013–14 (9th Cir. 2014); see also

Foothill Church v. Watanabe, -- F. App’x --, 2021 WL 3039417, at *1 (9th Cir. 2021) (rejecting

Establishment Clause challenge based on “the three-prong test in Lemon”); Forter v. Young, No. 6:18–

cv–01171–JR, 2020 WL 1917331, at *8 (D. Or. Apr. 20, 2020) (“[T]he Ninth Circuit continues to rely

predominantly on the Lemon test to evaluate claimed violations of the Establishment Clause.”), appeal

docketed, No. 20–35452 (9th Cir. May 22, 2020). “A statute or regulation will survive an Establishment

Clause attack if (1) it has a secular legislative purpose, (2) its primary effect neither advances nor

inhibits religion, and (3) it does not foster excessive government entanglement with religion.” Williams,

764 F.3d at 1014. The Religious Exemption passes each prong of the Lemon test.


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         First, “[a] practice will stumble on the [secular] purpose prong only if it is motivated wholly by

an impermissible purpose.” Kreisner v. City of San Diego, 1 F.3d 775, 782 (9th Cir. 1993) (emphasis

added, internal quotation marks omitted).          “A reviewing court must be reluctant to attribute

unconstitutional motives to government actors in the face of a plausible secular purpose.” Id. (internal

quotation marks omitted). The Religious Exemption readily clears the secular-purpose prong’s “fairly

low hurdle.” Ehlers-Renzi v. Connelly Sch. of the Holy Child, Inc., 224 F.3d 283, 288 (4th Cir. 2000) (internal

quotation marks omitted).

         The Supreme Court has recognized that “it is a permissible legislative purpose to alleviate

significant governmental interference with the ability of religious organizations to define and carry out

their religious missions.” Amos, 483 U.S. at 336; accord, e.g., Pieszak, 112 F. Supp. 2d at 996–97. As

applied here, by “protect[ing] the exercise of religion in institutions from unwarranted and substantial

infringement,” the Religious Exemption constitutes “a secular legislative purpose.” Mayweathers v.

Newland, 314 F.3d 1062, 1068 (9th Cir. 2002) (holding that the Religious Land Use and

Institutionalized Persons Act of 2000 “intends a secular legislative purpose”); see also, e.g., Gaylor, 919

F.3d at 432 (“Seeking to avoid government entanglement is a secular legislative purpose under

Lemon”); Medina, 877 F.3d at 1231 (“[W]e find that this purpose—avoiding entanglement with

religion—is a secular one.”); Pieszak, 112 F. Supp. 2d at 996–97 (“broad[]” religious exemption to

California’s Fair Employment and Housing Act constituted “a permissible legislative purpose”).

         Second, the primary effect of the Religious Exemption neither advances nor inhibits religion.

“A law is not unconstitutional simply because it allows churches to advance religion, which is their very

purpose.” Amos, 483 U.S. at 337 (emphasis in original). “For a law to have forbidden ‘effects’ under

Lemon, it must be fair to say that the government itself has advanced religion through its own activities

and influence.” Id. (emphasis in original). Just like the religious-education tax deduction upheld in


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Mueller v. Allen, 463 U.S. 388 (1983), and the property-tax exemption for religious organizations upheld

in Walz v. Tax Commission of the City of New York, 397 U.S. 664 (1970), the Religious Exemption does

not constitute an advancement of religion by the government. As the Fourth Circuit explained in

upholding a religious exemption to a county zoning ordinance, “[a]ny advancement of religion that

follows would be the result of the religious schools’ own acts in light of the exemption, as opposed to

[the government’s] elimination of an otherwise applicable requirement.” Ehlers-Renzi, 224 F.3d at 291;

see also, e.g., Cohen v. City of Des Plaines, 8 F.3d 484, 492 (7th Cir. 1993) (holding that zoning exemption

did not constitute impermissible advancement of religion; “The religious component of child care and

education activities in Des Plaines will come from church members or leaders, not from government

officials.”).

         To be sure, secular institutions do not benefit from the Religious Exemption. But in

upholding Title VII’s religious exemption, which similarly confers benefits only to religious

organizations, the Supreme Court explained that it “has never indicated that statutes that give special

consideration to religious groups are per se invalid.” Amos, 483 U.S. at 338. In other words,

“[r]eligious accommodations … need not ‘come packaged with benefits to secular entities.’” Cutter,

544 U.S. at 724 (quoting Amos, 483 U.S. at 338). Indeed, if the converse were true, “all manner of

religious accommodations would fall.” Id.; Medina, 877 F.3d at 1232 (“Accepting Medina’s argument

that accommodation equals favoritism would wreak havoc to [religious-exemption] schemes.”).

         Nor does it matter that the Religious Exemption may benefit some religious entities and not

others. A law does not violate the Establishment Clause “merely” because it “happens to coincide or

harmonize with the tenets of some or all religions.” McGowan v. Maryland, 366 U.S. 420, 442 (1961);

accord Foothill Church, 2021 WL 3039417, at *1. Here, the Religious Exemption has a secular purpose

and does not “single out any religious organization or religious creed for special treatment.” Gillette v.


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United States, 401 U.S. 437, 451 (1971). And the Supreme Court and Ninth Circuit have upheld against

Establishment Clause challenges several provisions that have the effect of benefiting certain religious

adherents over others. See, e.g., Gillette, 401 U.S. at 450–54 (exempting from the draft persons who, by

reason of religious training and belief, were conscientiously opposed to participation in war); McGowan,

366 U.S. at 444–45 (upholding Sunday-closing laws even though Sunday is “a day of particular

significance for the dominant Christian sects”); Droz v. Commissioner, 48 F.3d 1120, 1121, 1124 (9th

Cir. 1995) (upholding Social Security tax exemption that only exempts “members of religious sects

that have tenets or teachings opposed to participation in the Social Security system and that provide

reasonable support to their dependent members”); Cammack v. Waihee, 932 F.2d 765, 780 (9th Cir.

1991) (“Because the primary effect of the Good Friday holiday is secular, we cannot conclude that the

holiday is unconstitutional merely because the holiday may make it easier to worship on that day for

those employees who may wish to do so.”).

         Finally, the Religious Exemption does not entangle the government with religion—let alone

excessively so. “A relationship results in an excessive entanglement with religion if it requires

sustained and detailed interaction between church and State for enforcement of statutory or

administrative standards.” Williams, 764 F.3d at 1015–16 (internal quotation marks omitted). The

Religious Exemption requires nothing of the sort. To the contrary, religious exemptions like Title

IX’s disentangle government from religion. As in Amos, “[i]t cannot be seriously contended that” Title

IX’s religious exemption “impermissibly entangles church and state.” 483 U.S. at 339. Rather, the

exemption “effectuates a more complete separation of the two.” Id.; see Gaylor, 919 F.3d at 434 (though

“some level of church-state interaction is unavoidable,” “[t]he alternative” to the religious exemption

would be “more entangling”); Medina, 877 F.3d at 1234 (“[F]ar from entangling the government in the

affairs of religious institutions, [ERISA’s] church-plan exemption avoids the entanglement that would


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likely occur in its absence.”); Pieszak, 112 F. Supp. 2d at 997 (“The [Fair Employment and Housing

Act] exemption clearly creates a strong separation between church and state.”); cf., e.g., Hankins v. Lyght,

441 F.3d 96, 108 (2d Cir. 2006) (“[T]here is no question that the [Religious Freedom Restoration Act]

decreases rather than fosters government entanglement with religion ….”). 11

         In sum, the Religious Exemption passes the Lemon test and thus does not violate the

Establishment Clause.

                  Plaintiffs’ Fifth Cause of Action Does Not State a Claim

         Plaintiffs’ Religious Freedom Restoration Act (“RFRA”) claim also should be dismissed.

Plaintiffs’ RFRA claim is premised on the notion that the Religious Exemption has the effect of

substantially burdening some of those plaintiffs’ religious beliefs. See FAC ¶¶ 700–706. But RFRA

provides in part that “[g]ranting government funding, benefits, or exemptions, to the extent

permissible under the Establishment Clause, shall not constitute a violation of this chapter.” 42 U.S.C.

§ 2000bb–4. As explained above, the Religious Exemption is permissible under the Establishment

Clause. Accordingly, it cannot be challenged under RFRA.

         Even if the Religious Exemption were subject to RFRA (and it is not), Plaintiffs’ RFRA claim

should still be dismissed for an even more fundamental reason: RFRA provides that, generally

speaking, “[g]overnment shall not substantially burden a person’s exercise of religion.” 42 U.S.C.

§ 2000bb–1(a) (emphasis added). As the Ninth Circuit has explained, to be subject to RFRA liability,

“the party charged with the deprivation must be a person who may fairly be said to be a governmental


11
   Larkin v. Grendel’s Den, Inc., 459 U.S. 116 (1982), see Doc. 44 at 28–29, is off-point. Larkin concerned
a statute that “vest[ed] in the governing bodies of churches and schools the power effectively to veto
applications for liquor licenses within a five hundred foot radius of the church or school.” 459 U.S.
at 117. The Court held that “delegating a governmental power to religious institutions” violated the
Establishment Clause. Id. at 124. Here, the Religious Exemption does not delegate governmental
powers to religiously controlled institutions—it simply exempts them from Title IX to the extent that
its application would not be consistent with the religious tenets of such organizations.

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actor.” Sutton, 192 F.3d at 835 (internal quotation and alteration marks omitted); see also id. (“‘[T]he

required degree of [government] action under RFRA is analyzed under the same standard as § 1983.’”).

And, as explained above, the government is not burdening the religious exercise of any of the

Plaintiffs. Rather, Plaintiffs allege that “[m]any” of them (though the FAC does not specify which

Plaintiffs) “maintain sincerely held religious beliefs … which preclude them from complying with

campus policies that stigmatize or punish LGBTQ+ identities and relationships.” FAC ¶ 701 (emphasis

added). To the extent that this conclusory allegation clears the plausibility standard, at most Plaintiffs

allege that some of their religious beliefs are being burdened by private entities—not the government.

         Plaintiffs’ RFRA claim is much like the one in Village of Bensenville v. Federal Aviation

Administration, 457 F.3d 52 (D.C. Cir. 2006). In that case, plaintiffs asserted a RFRA claim against the

FAA, premised on the agency’s approval and funding of Chicago’s plans to expand O’Hare

International Airport. Those plans required the relocation of two cemeteries, which, the plaintiffs

argued, would substantially burden their exercise of religion. See id. at 57–59. The D.C. Circuit

concluded that “any burden on the exercise of religion caused by the City’s airport expansion plan is

not fairly attributable to the FAA.” Id. at 57. “[E]ven in instances in which the federal government

plays some role, constitutional standards do not attach to conduct by third parties in which the federal

government merely acquiesces.” Id. “So too, a federal agency’s determination that a City’s expansion

plan is eligible for federal funding does not render the City’s implementation of the plan tantamount

to federal action that is the source of the burden on the free exercise of religion.” Id. “Because the

relocation of St. Johannes Cemetery cannot be fairly attributed to the actions of the FAA, the

petitioners’ RFRA claim fails.” Id. at 68; see generally id. at 64–68. The same analysis applies here.

                                           CONCLUSION

         This case should be transferred to the Portland Division or, in the alternative, dismissed.


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Dated: August 9, 2021                    Respectfully submitted,

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